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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 13, 2020

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. : GRAND JURY ORIGINAL
JIMMY MARTEZ ELLIS, : VIOLATIONS:
Also known as “Big Oso,” > 21 U.S.C. § 846
: (Conspiracy to Distribute and Possess with
Defendant. : the Intent to Distribute Marijuana and
Oxycodone)

18 U.S.C. § 924(0)

(Conspiracy to Use, Carry, and Possess a
Firearm in Furtherance of Drug Trafficking
Offenses)

18 U.S.C. § 922(g)(1)

(Unlawful Possession of a Firearm and
Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a
Term Exceeding One Year)

18 U.S.C. § 924(¢)(1)

(Using, Carrying, and Possessing a Firearm
in Furtherance of a Drug Trafficking
Offense)

FORFEITURE:
18 U.S.C. § 924(d); 21 U.S.C. § 853(p); and
28 U.S.C. § 2461(¢)

INDICTMENT

The Grand Jury charges that:
COUNT ONE

Beginning on or about January 1, 2018, and continuing to on or about May 18, 2020, in the
District of Columbia, JIMMY MARTEZ ELLIS, also known as “Big Oso,” knowingly and

intentionally combined, conspired, confederated and agreed with other persons known and
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unknown to the Grand Jury to commit the following offense(s) against the United States:
Distribution, and Possession with Intent to Distribute, a mixture and substance containing a
detectable amount of marijuana, a Schedule I controlled substance, and a detectable amount of
Oxycodone, a Schedule II controlled substance, in violation of Title 21, United States Code,
Section 841(a)(1) and 841(b)(1)(C).

(Conspiracy to Distribute and Possess with the Intent to Distribute Marijuana and
Oxycodone, in violation of Title 21, United States Code, Sections 846)

COUNT TWO

Beginning on or about March 8, 2020, and continuing through at least April 19, 2020,
within the District of Columbia, JIMMY MARTEZ ELLIS, also known as “Big Oso,” and others
both known and unknown to the Grand Jury did knowingly combine, conspire, confederate, and
agree with each other to commit offenses against the United States, namely: to knowingly use,
carry, and possess firearms in furtherance of drug trafficking offenses for which they may be
prosecuted in a court of the United States, that is, Unlawful Distribution and Possession with Intent
to Distribute Marijuana, in violation of Title 21, United States Code, Sections 841(a)(1), and 846,
and Unlawful Possession of a Firearm During and in Furtherance of a Drug Trafficking Offense,
in violation of Title 18, United States Code, Section 924(c)(1).

Goal of the Conspiracy

The goal of the conspiracy was to obtain, possess, and trade firearms and ammunition in

the District of Columbia, for the purposes of: possessing firearms to further the illegal conspiracy

to distribute and possess with intent to distribute marijuana, as referenced in Count One.
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The Manner and Means Used to Achieve the Objectives of the Conspiracy

The manner and means by which this conspiracy was carried out included the following:

1. The co-conspirators would acquire marijuana — either by purchasing it from a
supplier or by stealing it from a rival drug dealer.

2. The co-conspirators would use, carry, and possess firearms in furtherance of drug
trafficking offenses. Specifically, the co-conspirators would use, carry, and possess such firearms
to protect their illegal narcotics business, to include protecting their persons, their cash, their
territory, and their narcotics and paraphernalia.

By The co-conspirators would purchase or otherwise acquire or attempt to acquire
firearms—either from each other, or from other sources, both known and unknown to the grand
jury—in order to ensure that they always had firearms on hand.

Overt Acts in Furtherance of the Conspiracy

In furtherance of the conspiracy, and in order to effect the objects thereof, the co-
conspirators and others, both known and unknown to the Grand Jury, committed, or caused to be
committed, the following overt acts in the District of Columbia and elsewhere.

1. On or about February 18, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” exchanged text messages with CO-CONSPIRATOR A and, during the course of that
exchange, JIMMY MARTEZ ELLIS, also known as “Big Oso,” asked whether CO-
CONSPIRATOR A knew whether a firearm, which he referred to as “dat bitch” for sale, and
offered to pay $600 for the firearm if it was for sale. When CO-CONSPIRATOR A asked which

firearm JIMMY MARTEZ ELLIS, also known as “Big Oso,” was referring to, he clarified that
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he wanted to buy a 9mm handgun. CO-CONSPIRATOR A told JIMMY MARTEZ ELLIS, also
known as “Big Oso,” that the 9mm firearm was sold.

2. On or about February 18, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” continued his text message conversation with CO-CONSPIRATOR A, and stated that it was
“important” that JIMMY MARTEZ ELLIS, also known as “Big Oso,” get a firearm. In
response, CO-CONSPIRATOR A stated that he knew someone who had a Glock, model 43, semi-
automatic handgun for sale, but that the seller wanted $700 for it. JIMMY MARTEZ ELLIS,
also known as “Big Oso,” replied that he only had $600 and needed another firearm because “da
feds n da hallway,” meaning that he believed the police were closing in on him.

Bh On or about February 19, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” exchanged text messages with CO-CONSPIRATOR A and, during the course of that
exchange, JIMMY MARTEZ ELLIS, also known as “Big Oso,” asked whether CO-
CONSPIRATOR A was interested in selling either a Taurus handgun or an AR-Pistol that CO-
CONSPIRATOR A possessed. During the course of that exchange, CO-CONSPIRATOR A told
JIMMY MARTEZ ELLIS, also known as “Big Oso,” that the Taurus and AR-Pistol were both
for sale, and that if JIMMY MARTEZ ELLIS, also known as “Big Oso,” wanted them he should
buy them before someone else did.

4. On or about February 19, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” exchanged additional text messages with CO-CONSPIRATOR A and, during the course of
that exchange, JIMMY MARTEZ ELLIS, also known as “Big Oso,” agreed to purchase Ruger

handgun for $650.
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oy On or about February 24, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” exchanged text messages with CO-CONSPIRATOR A. During the course of that exchange,
JIMMY MARTEZ ELLIS, also known as “Big Oso,” agreed to trade a Glock 30 with an
extended magazine to CO-CONSPIRATOR A for a Glock 27.

6. On or about March 7, 2020, JIMMY MARTEZ ELLIS, also known as “Big Oso,”
exchanged text messages with CO-CONSPIRATOR B, and asked if CO-CONSPIRATOR B knew
someone that wanted to sell a firearm, which he referred to as a “stick” and a “Glizzy.” During
this exchange, JIMMY MARTEZ ELLIS, also known as “Big Oso,” told CO-CONSPIRATOR
B that he would purchase any available firearm, and was willing to pay as much as $600.

7. On or about March 8, 2020, JIMMY MARTEZ ELLIS, also known as “Big Oso,”
asked CO-CONSPIRATOR C if CO-CONSPIRATOR C knew of a firearm that was for sale.
During this exchange, JIMMY MARTEZ ELLIS, also known as “Big Oso,” told CO-
CONSPIRATOR C that he needed a new firearm to protect himself from a rival drug dealer.

8. On or about March 8, 2020, JIMMY MARTEZ ELLIS, also known as “Big Oso,”
asked CO-CONSPIRATOR D if CO-CONSPIRATOR D knew of a firearm that was for sale.
During this conversation, JIMMY MARTEZ ELLIS, also known as “Big Oso,” told CO-
CONSPIRATOR D that he needed a new firearm because he had robbed a rival drug dealer of
cash and marijuana, and the rival drug dealer was looking for him. During this exchange,
JIMMY MARTEZ ELLIS, also known as “Big Oso,” stated that he had disposed of the firearm
that he had used in the robbery.

9. On or about March 11, 2020, JIMMY MARTEZ ELLIS, also known as “Big

Oso,” communicated with CO-CONSPIRATOR E about firearm that CO-CONSPIRATOR E was
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brokering the sale of. During this exchange, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” agreed to pay $600 for a Glock19, 9mm semi-automatic handgun.

10. On or about March 11, 2020, CO-CONSPIRATOR E told JIMMY MARTEZ
ELLIS, also known as “Big Oso,” that CO-CONSPIRATOR F knew of a drug dealer that could
be easily robbed, and that the drug dealer had marijuana, which he referred to as “gas,” and $3,000
cash in his possession. During this conversation, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” told CO-CONSPIRATOR F that he had a car they could use, and would get someone to
drive so that both JIMMY MARTEZ ELLIS, also known as “Big Oso,” and CO-
CONSPIRATOR D could participate in the robbery.

11. On or about March 12, 2020, JIMMY MARTEZ ELLIS, also known as “Big
Oso,” exchanged text messages with CO-CONSPIRATOR E. During the course of that exchange,
CO-CONSPIRATOR E confirmed that he knew someone who had a Glock-style “ghost gun” for
sale for $600.

12. On or about March 13, 2020, CO-CONSPIRATOR G told JIMMY MARTEZ
ELLIS, also known as “Big Oso,” that CO-CONSPIRATOR G was aware of a drug dealer that
could be easily robbed. During this conversation, JIMMY MARTEZ ELLIS, also known as
“Big Oso,” stated that he was interested in the robbery, but he needed to get another firearm, which
he referred to as a “stick” first.

13. On or about April 17, 2020, JIMMY MARTEZ ELLIS, also known as “Big Oso,”
exchanged text messages with CO-CONSPIRATOR G. During that text message exchange, CO-
CONSPIRATOR H asked whether JIMMY MARTEZ ELLIS, also known as “Big Oso,” had

any ammunition, which he referred to as “eggs.” In response, JIMMY MARTEZ ELLIS, also
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known as “Big Oso,” agreed to deliver ammunition to CO-CONSPIRATOR H as soon as he had
some available.

14. On or about April 19, 2020, JIMMY MARTEZ ELLIS, also known as “Big Oso,”
also known as “Big Oso,” was arrested while in possession of a loaded Glock 22, .40 caliber semi-
automatic handgun and two ounces of marijuana packaged for distribution in three separate
baggies.

(Conspiracy to Use, Carry, and Possess a Firearm in Furtherance of Drug Trafficking
Offenses, in violation of Title 18, United States Code, Section 924(0))

COUNT THREE
On or about April 19, 2020, in the District of Columbia, JIMMY MARTEZ ELLIS, also
known as “Big Oso,” knowing that he had been convicted of a crime punishable by imprisonment
for a term exceeding one year, in the Superior Court for the District of Columbia, Criminal Case
No. 2012-CF2-016600, and in the Circuit Court for Prince George’s County, Maryland Criminal
Case No. T130214X, did knowingly possess a firearm and ammunition, that is, a Glock 22, .40
caliber semi-automatic handgun and .40 caliber ammunition, which had been possessed, shipped
and transported in and affecting interstate and foreign commerce.
(Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
United States Code, Section 922(g)(1))
COUNT FOUR
On or about April 19, 2020, in the District of Columbia, JIMMY MARTEZ ELLIS, also

known as “Big Oso,” did unlawfully knowingly use, and carry during and in relation to, and

possess in furtherance of, a drug trafficking offense, for which he may be prosecuted in a court of
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the United States, that is Count Two of this Indictment, which is incorporated herein, a firearm,
that is, a Glock 22, .40 caliber semi-automatic handgun.

(Using, Carrying, and Possessing a Firearm in Furtherance of a Drug Trafficking
Offense, in violation of Title 18, United States Code, Sections 924(c)(1)

FORFEITURE ALLEGATION
1, Upon conviction of the offense alleged in Count One of this Indictment, JIMMY
| MARTEZ ELLIS, also known as “Big Oso,” shall forfeit to the United States, pursuant to 21
U.S.C. § 853, any and all property constituting or derived from any proceeds that JIMMY
MARTEZ ELLIS, also known as “Big Oso,” obtained directly or indirectly as a result of the said
violation and any and all property used or intended to be used in any manner or part to commit and
to facilitate the commission of the violations alleged in Count One of this Indictment.
Wr Upon conviction of the offense alleged in either Count Two, Count Three, or Count
Four, JIMMY MARTEZ ELLIS, also known as “Big Oso,” shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code, Section
2461(c), any firearms and ammunition involved in or used in the knowing commission of the
offense, including but not limited to:

(a) A Glock 22, .40 caliber semi-automatic handgun bearing serial number
HKR491.

(b) Seven rounds of .40 caliber ammunition.

ey If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;
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(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property that cannot be subdivided without

difficulty;

JIMMY MARTEZ ELLIS, also known as “Big Oso,” shall forfeit to the United States any other
property of the defendant, up to the value of the property described above, pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
